         Case 1:22-cv-01043-APM Document 72 Filed 07/08/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

NATIONAL RAILROAD PASSENGER                  )
CORPORATION (AMTRAK)                         )
                                             )      CIVIL ACTION NO. 1:22-CV-01043
       PLAINTIFF,                            )
                                             )
v.                                           )
                                             )
UNION STATION INVESTCO, LLC, et al.          )
                                             )
       DEFENDANTS.                           )
                                             )

     PLAINTIFF NATIONAL RAILROAD PASSENGER CORPORATION’S MOTION
      FOR IMMEDIATE POSSESSION OF THE SUBJECT PROPERTY INTEREST

       Pursuant to 49 U.S.C. § 24311(b)(2), Plaintiff National Railroad Passenger Corporation

(“Amtrak”), through undersigned counsel, respectfully moves this Court for an order granting

Amtrak immediate possession of Washington Union Station (“WUS” or “Station”), located at 50

Massachusetts Ave. NE, Washington, D.C. 20002. In support of this motion, Amtrak respectfully

refers the Court to the accompanying memorandum of points and authorities and exhibits, which

are being filed concurrently with this motion. Pursuant to Local Civil Rule 7(c), a proposed order

consistent with this motion is also attached. Pursuant to Local Civil Rule 7(m), Amtrak conferred

with counsel for Defendants, who will respond to the Motion pursuant to the Court’s previously-

ordered schedule.


                                             Respectfully submitted,

                                             COUNSEL FOR PLAINTIFF NATIONAL RAILROAD
                                             PASSENGER CORPORATION


                                             /s Patricia McHugh Lambert
                                             Patricia McHugh Lambert, US DC Bar ID MD0008
                                             Kambon R. Williams, US DC Bar ID MD29872
Case 1:22-cv-01043-APM Document 72 Filed 07/08/22 Page 2 of 2




                           PESSIN KATZ LAW, P.A.
                           901 Dulaney Valley Road, Suite 500
                           Towson, MD 21204
                           Telephone: 410-938-8800
                           Fax: 410-832-5650
                           plambert@pklaw.com
                           kwilliams@pklaw.com



                           /Lindsay C. Harrison
                           Lindsay C. Harrison, DC Bar #977407
                           Jessica Ring Amunson, DC Bar #497223
                           JENNER & BLOCK, LLP
                           1099 New York Avenue, NW, Suite 900
                           Washington, D.C. 20001-4412
                           Telephone: 202-639-6000
                           Fax: 202-639-6066
                           lharrison@jenner.com
                           jamunson@jenner.com




                             -2-
